
opinion.
Lansdon:
The petitioner contends that the loss sustained by deceased in 1922, through the failure of W. G. Cleveland &amp; Co., was a “net loss,” as defined in section 204(a) of the Revenue Act of 1921, and that such loss should be carried forward as a deduction from *20income for the succeeding taxable year. It is petitioner’s contention that deceased was regularly engaged in the wholesale drug business within the meaning of the above section, inasmuch as he was president, manager, and majority stockholder of E. E. Bruce &amp; Co.
We are unable to agree with petitioner’s contention and approve the determination of the respondent on the authority of Harry J. Gutman v. Commissioner, 7 B. T. A. 500. See also Meyer Levy v. Commissioner, 10 B. T. A. 907; Isadore Finkelstein v. Commissioner, 10 B. T. A. 585; W. C. Harris v. Commissioner, 8 B. T. A. 1234; H. E. Newton v. Commissioner, 7 B. T. A. 1153; R. J. Palmer v. Commissioner, 4 B. T. A. 1028.

Judgment will be entered for the respondent.

